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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                             :
                                                       :                    SUMMARY ORDER
                   -against-                           :
                                                       :                         09-cr-525(DLI)
 WILLIAM PERKINS, et. al.,                             :
                                                       :
                            Defendant.                 :
 -------------------------------------------------------x
 DORA L. IRIZARRY, U.S. District Judge:

         By letter dated June 19, 2012, defendant William Perkins moves for a modification of the

 sentence imposed by the Court due to a subsequent change in defendant’s family’s financial

 circumstances.       The government opposes the motion.                  For the reasons set forth below,

 defendant’s motion is denied.

         On November 8, 2011, defendant pled guilty under Count One of the superseding

 indictment to Conspiracy to Commit Mail and Wire Fraud, a Class C Felony, in violation of 18

 U.S.C. §§ 1341, 1343, and 1349. On April 17, 2012, defendant was sentenced to a term of

 twelve months and one day of imprisonment, and three years of supervised release with special

 conditions, including compliance with the restitution and forfeiture orders issued by the Court. 1

 Two months after sentence was imposed, defendant made the instant motion for a reduction of

 his sentence, specifically requesting a non-incarceration sentence due to a reduction in his wife’s

 income since sentence was imposed. Defendant contends that this income reduction, along with

 defendant’s impending incarceration 2 would impose an undue financial hardship on defendant’s


 1
   The Court originally ordered defendant to make restitution in the amount of $442,754.00, which included
 $213,036.00 in restitution to Asurion. The government later advised the court that, based on defendant’s role in the
 offense, he should not be required to pay restitution to Asurion. Accordingly, on May 2, 2012, the court filed an
 Amended Judgment and Commitment Order reducing the amount of restitution to be made by defendant to
 $229,718.00. The Court assumes the parties’ familiarity with the facts and circumstances of this case.
 2
    Without objection by the government, the Court directed defendant to voluntarily surrender himself to the
 designated Bureau of Prisons facility on June 29, 2012. By letter dated June 22, 2012, defendant requested that the

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 family. Notably, the initial letter motion contained no other specific information concerning the

 family’s finances. The government opposed the motion noting that the Presentence Investigation

 Report (“PSR”) showed that defendant’s household had a negative monthly cash flow, and the

 only new information provided by defendant was the wife’s income reduction. The government

 further noted that defendant’s motion was lacking in detail as to a quantification of the income

 reduction or how defendant’s absence would affect the household’s total expenses or how the

 family could mitigate the expenses noted in the PSR for a one-year period. The government

 contends further that defendant’s financial situation was considered by the Court at the time of

 sentencing. Defendant, in his reply, sought to counter the government’s arguments by providing

 information as to defendant’s wife’s loss of income and ways in which the family has sought to

 mitigate its expenses. However, this belated effort is to no avail as defendant’s motion has no

 merit, and the Court has no legal authority to reduce his sentence under the circumstances herein.

         As an initial matter, the Court has no authority to alter an imposed sentence, except under

 certain very narrow circumstances. As noted by the Second Circuit Court of Appeals in United

 States v. Kyles, 601 F. 3d 78 (2d Cir. 2010):

                          It is well-established that a district court may not alter an
                  imposed sentence, except in narrow circumstances not present here.
                  See 18 U.S.C. §3582(c) (permitting modification of sentence (1) upon
                  motion by Bureau of Prisons for reduced term of imprisonment, (2) as
                  otherwise expressly provided by statute or Fed.R.Crim.P. 35 or (3)
                  where Sentencing Commission subsequently reduces applicable
                  sentencing guidelines range pursuant to 28 U.S.C. §994(o));
                  Fed.R.Crim.P. 35(1993) (permitting court to correct sentence upon
                  remand from higher court, to reduce sentence on motion of government,
                  or to correct sentence infected by clear error within seven days of imposi-




 Court extend this deadline, pending its decision on the instant motion. By Electronic Order dated June 25, 2012, the
 Court granted defendant’s motion and extended the self-surrender date to July 29, 2012.

                                                          2
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                 tion); 3 Fed.R.Crim.P. 36 (permitting court to correct clerical error in
                 judgment); see also Poindexter v. United States, 556 F.3d 87, 89 (2d Cir.
                 2009); United States v. Burd, 86 F.3d 285, 289 (2d Cir. 1996).

 Id. at 83. None of the circumstances described above are present in this case. There is no legal

 authority for the Court to amend defendant’s sentence under the circumstances presented here.

 Indeed, defendant cites none.         Accordingly, defendant’s motion is denied on this ground.

         Moreover, as the government points out, the Court considered defendant’s family’s

 financial situation at the time of sentence. Indeed, at the sentencing hearing, the Court expressed

 concern that the wife’s income contribution had been left out of the financial section of the PSR,

 thus depriving the Court of a full picture of the family’s finances. Also left out of the calculation

 was the defendant’s daughter’s income. As she lives with defendant and his wife, her financial

 contribution to the family was important. The Probation Officer present at sentencing explained

 that the defendant only provided his own income contribution for a determination of his net

 worth and his ability to pay a fine in addition to restitution, and, since his wife was entitled to her

 privacy, she was not required to provide information about her finances. The Court further noted

 at sentencing that the family seemed to have non-essential expenses that could be trimmed in

 order to make ends meet. Defendant now wants the Court to consider his wife’s and daughter’s

 financial contribution to the home. While the Court is sympathetic to defendant’s financial

 difficulties, they have not changed so dramatically or to such a degree that would warrant a

 reduction in defendant’s sentence, which represented the bottom of his sentence guideline range

 of 12 to 18 months of imprisonment. Accordingly, defendant’s motion is denied on this ground

 as well.




 3
   Federal Rule of Criminal Procedure 35 was amended effective December 1, 2009 to permit the correction of an
 erroneous sentence within fourteen days of imposition.

                                                      3
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                                            CONCLUSION



         For the reasons set forth above, defendant’s motion for a reduction of sentence due to

 financial hardship is denied in its entirety.



 SO ORDERED.

 DATED: Brooklyn, New York
        July 17, 2012


                                                     ____________/s/________________
                                                           DORA L. IRIZARRY
                                                         United States District Judge




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